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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                     )          4:08CR3142
                                              )
                     Plaintiff,               )
                                              )
       vs.                                    )
                                              )          ORDER
WILLIE LEE STURGIS,                           )
                                              )
                     Defendant.               )

       I am in receipt of a report from the Probation Office indicating that the defendant is
ineligible for a sentence reduction under Amendment 782 due to his career offender status.
Counsel have been notified of the Probation Office’s determination.

      IT IS ORDERED that a sentence reduction under Amendment 782 (filing 217) is
denied.

       Dated August 18, 2015.

                                          BY THE COURT:

                                          Richard G. Kopf
                                          Senior United States District Judge
